                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


        INTHEMAITEROFS.B.,AMINORSTUDENT,         )
        BY AND THROUGH HIS PARENTS,              )
        M.B. AND L.H.;                           )
                                                 )
        M.S., A MINOR STUDENT,                   )
        BY AND THROUGH HER PARENT, K.P.;         )
                                                )
        T.W., A MINOR STUDENT,                  )
        BY AND THROUGH HIS PARENTS, M.W.        )
        J.W.,AND                                )
                                                )
        M.K. A MINOR STUDENT,                   )
        BY AND THROUGH HER PARENT, S.K.         )
                                                )
                                               )
                    PLAINTIFFS,                )
                                               )
              vs.                              )
                                               ) 3:21-cv-00317-JRG-DCP
        GOVERNOR BILL LEE, in his official     ) JUDGE GREER
        capacity as GOVERNOR OF TENNESSEE, and )
        KNOX COUN'IYBOARD OF EDUCATION,        )
                                               )
                    DEFENDANTS.                )


                                SEITLEMENT AGREEMENT

             The provisions of this Settlement Agreement apply to the Plaintiffs, S.B., a minor,

       through M.B. and L.H.; M.S., a minor, through K.P.; T.W. a minor, through M.W. and

       J.W.; and M.K., a minor, through S.K. ("Plaintiffs"); and the Knox County Board of

       Education ("Board"). They agree as follows:

             1.     Plaintiffs and the Board will jointly move the Court to dissolve the

       preliminary injunction and dismiss Knox County Board of Education with prejudice.




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                                   2022
         Plaintiffs have consulted with the CDC, the American Academy of Pediatrics, and its own

         health experts in reaching this decision.

                2.       Plaintiffs and Board release any claims against the other up through the date

         of dismissal.

                3.       The Board will dismiss its appeal in the Sixth Circuit Court of Appeals.

                4.       The Board approves payment of $145,000.00 to Plaintiffs' attorneys.

                5.       Payment to issue within        10   days of the District Court dissolving the

         injunction.

                6.       The Governor is not a party to this release, nor are claims or attorneys' fees

         against the Governor released as part of this agreement.

                7.       The Board will pay its 1/3 share of the mediator's fees through date of

         execution of this settlement agreement.

                8.       An order conforming to the attachment hereto will be submitted to the

         District Court.




             e;
                [signatur




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                                   2023
                                           AGREED ORDER

                  Upon the   Joint Motion of Plaintiffs and the Knox County Board of

                 Education for Settlement Approval, the Court has reviewed the proposed

                 Settlement Agreement.    In consideration of that agreement, and by

                 agreement of the Plaintiffs and their experts, the federally ordered mask

                 mandate is hereby dissolved. The Settlement between Plaintiffs and the

                 Knox County Board ofEducation is approved. This matter is dismissed with

                 prejudice as to the Knox County Board of Education. All other pending

                 motions, other than attorneys' fees involving Governor Lee, are dismissed

                 as moot.

                        SO ORDERED on __ day ofApril 2022.




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